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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                      February 12, 2019

Via ECF
The Honorable Paul A. Crotty
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:    United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)

Dear Judge Crotty:

        The Government writes to update the Court concerning two of the discovery issues raised
at the conference on February 5, 2019.

       First, with respect to the defendant’s access to discovery in prison, the Government has
consulted with the MCC and understands that the hard drives containing the defendant’s discovery
were misplaced. As a result, the Government is providing another copy of the discovery to the
defendant, which will be produced by tomorrow. In consultation with defense counsel, this
reproduction will include all of the unclassified discovery produced to date except for a copy of
the defendant’s server, which requires a very large storage device for reproduction. The
Government and defense counsel are working toward a solution for reproduction of the server.

       Second, the Government confirms that it has produced an electronic copy of all classified
discovery in this case. To the extent the defendant seeks unredacted copies of the classified
discovery, the Government objects to that request for the reasons stated during the February 5
conference and in the Government’s filing pursuant to Section 4 of the Classified Information
Procedures Act, dated December 10, 2018.

                                                      Respectfully submitted,
                                                      GEOFFREY S. BERMAN
                                                      United States Attorney


                                                By:                /s/
                                                      Sidhardha Kamaraju / Matthew Laroche
                                                      Assistant United States Attorneys
                                                      Scott McCulloch
                                                      Special Assistant United States Attorney

Cc: Defense Counsel (via ECF)
